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                                     EXHIBIT B

                                      (Redline)




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

AMYRIS, INC., et al.,                                                  Case No. 23-11131 (TMH)

                                   Debtors.1                           (Jointly Administered)

                                                                       RE Docket Nos. 12, 64

         FINAL ORDER (I) AUTHORIZING THE DEBTORS TO (A) CONTINUE TO
         MAINTAIN THEIR INSURANCE POLICIES AND PROGRAMS, (B) HONOR
          ALL INSURANCE OBLIGATIONS, (C) RENEW, AMEND, SUPPLEMENT,
           EXTEND, OR PURCHASE AND FINANCE INSURANCE POLICIES; (II)
              AUTHORIZING CONTINUATION OF INSURANCE PREMIUM
           FINANCING AGREEMENT; AND (III) GRANTING RELATED RELIEF

          Upon consideration of the motion (the “Motion”)2 of the above-captioned debtors and

debtors-in-possession (collectively, the “Debtors”), for the entry of a final order (this “Final

Order”): (i) authorizing, but not directing, the Debtors to continue their existing Insurance

Policies; (ii) authorizing, but not directing, the Debtors to pay certain (a) prepetition Insurance

Obligations, and (b) postpetition Insurance Obligations in the ordinary course of business; (iii)

authorizing the Debtors to renew, amend, supplement, extend, or purchase and finance insurance

policies in the ordinary course; (iv) authorizing the Debtors, in their discretion, to continue the

Debtors’ insurance premium financing agreement; and (v) granting related relief, all as more

fully set forth in the Motion; and upon consideration of the First Day Declaration; and the United

States District Court for the District of Delaware having jurisdiction over this matter pursuant to



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    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
    Debtors’ claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
    principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street,
    Suite 100, Emeryville, CA 94608.
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    A capitalized term used but not defined herein have the meaning ascribed to it in the Motion.

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28 U.S.C. § 1334, which was referred to this Court under 28 U.S.C. § 157 pursuant to the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012; and the Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2), and that the Court may enter a final order consistent with

Article III of the United States Constitution; and the Court having found that venue of this

proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

the Court having found that the Debtors’ notice of the Motion and opportunity for a hearing on

the Motion were appropriate under the circumstances and no other notice need be provided; and

the Court having reviewed the Motion and having heard the statements in support of the relief

requested therein at an interim hearing before this Court (the “Hearing”), and the Court having

entered an interim order on the Motion [Docket No. ___64]; and notice of a final hearing having

been provided; and upon the Debtors’ representation that the amounts authorized to be paid

pursuant to this Final Order are consistent with the Debtors’ debtor-in-possession financing

budget; and the Court having determined that the legal and factual bases set forth in the Motion

establish just cause for the relief granted herein; and the Court having found that the relief

requested in the Motion is in the best interests of the Debtors’ estates, their creditors, any

statutory committee and other parties in interest; and upon all of the proceedings had before the

Court; and after due deliberation and sufficient cause appearing therefor;

        IT IS HEREBY ORDERED THAT:

        1.       The Motion is GRANTED on a final basis as set forth herein.

        2.       The Debtors are hereby authorized, but not directed, to pay, in the ordinary course

of their business, all premiums, premium finance payments, claims, deductibles, retrospective

adjustments, administrative and broker’s fees, and all other obligations related to the Insurance

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Policies on account of such prepetition obligations without further order of the Court, and the

Debtors are authorized to pay and honor any postpetition Insurance Obligations in connection

with the Insurance Policies as such obligations come due in the ordinary course of business.

        3.       The Debtors are hereby authorized, but not directed, to:      (a) maintain their

Insurance Policies without interruption, on the same basis and in accordance with the same

practices and procedures that were in effect prior to the Petition Date and in the ordinary course

of their business, in their business judgment and at their sole discretion; and (b) enter into new

financing agreements, to the extent consistent with the Debtors’ ordinary course prepetition

practices, and to continue, in the ordinary course of business, their current Insurance Premium

Financing Agreement; provided that, absent further order of the Court upon notice, during the

course of these Chapter 11 Cases, the Debtors shall not renew or enter into any new premium

financing agreement upon any terms less favorable than those in the existing Insurance Premium

Financing Agreement.

        4.       The Debtors are authorized, but not directed, to renew, amend, supplement,

extend, or purchase insurance policies, and to enter into, renew, amend, supplement, or extend

premium financing agreements as necessary, to the extent that the Debtors determine that such

action is in the best interest of their estates.

        5.       Notwithstanding the relief granted in this Final Order and any actions taken

pursuant to such relief, nothing in this Final Order shall be deemed to be: (a) an admission by

the Debtors or the Committee as to the validity of any prepetition claim against a Debtor entity;

(b) a waiver of the Debtors’, the Committee’s, or any other party in interest’s rights to dispute

any prepetition claim on any grounds; (c) a promise or requirement by the Debtors or the

Committee to pay a prepetition claim; (d) an implication or admission by the Debtors or the

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Committee that any particular claim is of a type specified or defined in the Motion or any order

granting the relief requested by this Motion; (e) a request or authorization by any Debtor to

assume any prepetition agreement, contract, or lease pursuant to section 365 of the Bankruptcy

Code; or (f) a waiver of the Debtors’, the Committee’s or any other party in interest’s rights

under the Bankruptcy Code or any other applicable law.

        6.       Each of the banks and financial institutions at which the Debtors maintain their

accounts relating to the payment of the Insurance Obligations are authorized to: (a) receive,

process, honor, and pay all checks presented for payment and to honor all funds transfer requests

made by the Debtors related thereto, to the extent that sufficient funds are on deposit in those

accounts; and (b) accept and rely on all representations made by the Debtors with respect to

which checks, drafts, wires, or automated clearing house transfers should be honored or

dishonored in accordance with this Final Order or any other order of the Court, whether such

checks, drafts, wires, or transfers are dated before, on, or after the Petition Date, without any

duty to inquire otherwise.

        7.       Nothing contained in this Final Order shall be construed to accelerate payments

that are not otherwise due and payable.

        8.       The Debtors are authorized, but not directed, to issue new postpetition checks, or

effect new electronic funds transfers, on account of the Insurance Obligations, and to replace any

prepetition checks or electronic funds transfer requests that may be lost, dishonored, or rejected

as a result of the commencement of these Chapter 11 Cases.

        9.       Adequate notice of the Motion has been provided under the circumstances. Such

notice satisfies the requirements of Bankruptcy Rule 6004(a). Notwithstanding Bankruptcy



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Rules 6004(h), 7062, and 9014, the terms and conditions of this Final Order are immediately

effective and enforceable upon its entry.

        10.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Final Order in accordance with the Motion.

        11.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Final Order.




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